       Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 1 of 14



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             ECF CASE
STEVEN E. GREER, MD,

                                 Plaintiff,                            CIVIL ACTION NO.
                                                                      15 CV 6119(AJN)(JLC)
        -against-
                                                                 LANDLORD DEFENDANTS'
DENNIS MEHIEL,ROBERT SERPICO,THE                                   FIRST REQUEST FOR
BATTERY PARK CITY AUTHORITY,HOWARD                             PRODUCTION OF DOCUMENTS
MILSTEIN,STEVEN ROSSI,JANET MARTIN,
MILFORD MANAGEMENT,and MARINERS COVE
SITE B ASSOCIATES,

                                  Defendants.

         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure ("FRCP"l,

defendants Howard Milstein, Steven Rossi, Janet Martin, Milford Management, and Mariners

Cove Site B Associates("MCSBA")(collectively "Landlord Defendants") hereby request that

plaintiff Steven E. Greer, MD ("Plaintiff') produce the following documents, electronically

stored information, and/or things for inspection or copying on or before March 1, 2017 at 5:00

p.m., at the offices of the undersigned. The following definitions and instructions shall apply to

the requests set forth below:

                                              DEFINITIONS

                  1.       The term "Person" is defined as any natural Person or any legal entity,

including, without limitation, any business or governmental entity or association.

                  2.       ~—"Plaintiff," "You" and "Your" means plaintiff Steven E. Greer, MD,

and all other Persons or entities acting or purporting to act, directly or indirectly, on Your behalf.




RE\55673\0424~2064026v34
      Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 2 of 14




                 3.        ~"BPCA Defendants" means Robert Serpico and/or The Battery Park

City Authority in their own right, as well as any officers, principals, directors, employees, agents

(including independent contractors), general or limited partners, members, successors, and

assigns of BPCA Defendants, anyone acting or purporting to act on behalf of such

        Persons or entities, and all subsidiaries and affiliates of BPCA Defendants.

                 4.        ~"BPCA" means The Battery Park City Authority in its own right, as

well as any officers, principals, directors, employees, agents (including independent contractors),

general or limited partners, members, successors, and assigns of BPCA, anyone acting or

purporting to act on behalf of such ~e~se~sPersons or entities, and all subsidiaries and affiliates

of BPCA.

                  5.       ~"Landlord Defendants" means Howard Milstein, Steven Rossi, Janet

Martin, Milford Management, and Mariners Cove Site B Associates, in their own right, as well

as any officers, principals, directors, employees, agents (including independent contractors),

general or limited partners, members, successors, and assigns of Landlord Defendants, anyone

acting or purporting to act on behalf of such ~e~se~sPersons or entities, and all subsidiaries and

affiliates of Landlord Defendants.

                 6.        ~"Defendants" means Landlord Defendants and BPCA Defendants

collectively.

                  7.       ~"Building" means the building known as Liberty Court located at 200

Rector Place, New York, New York.

                  8.       ~"Premises" means Aparhnent # 35F in the Building.

                  9.       ~-"Complaint" means the Corrected Amended Complaint filed by Plaintiff

in the above-captioned action on November 4, 2016.



                                                 -2-
RE\55673\0424~2064026v34
        Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 3 of 14




                  10.       9— "Answer" means Landlord Defendants' Answer dated and

electronically filed in the above-captioned action on January 26, 2017.

                  11.       ~"Lease" shall mean the written lease agreement entered into between

MCSBA, as landlord, and Plaintiff, as tenant, dated February 21, 2002, as amended from tune to

time.

                  12.       ~"Initial Disclosures" means the document titled Initial Disclosures,

dated January 30, 2017, served by Plaintiff on Landlord Defendants pursuant to Rule 26(a)(1) of

the ~vao,.,,i n„io~ „~r-~:.,;i D,.,,,,oa,,,-oFRCP.

                            ~—ccConcerning;» z~~~~e~~z~~e-~e-~;-~~~eans
                                             cc ,a • » cc,. 1 + ,~ + » ,a cc ~ »




relating to, referring to, describing, evidencing or constituting.

                  14.       The term "Document” is defined to be svnonvmous in meaning and equal

in scope to the usage of the term "documents or electronically stored information" in Fed. R. Civ.

P. 34(a)(1)(A). A draft or non-identical conv is a sen_arate Document within the meaning of this

term.




                           ..




                                                       >                                        >



                      >                                                             >



                                                     -3-
RE\55673\0424~2064026v34
       Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 4 of 14



                                             >                                                              >

          >                                                                                            >
   .i.                                 :~                                      ~s!~~.

r @c-~E~isicii~r-v~v             ~3~1                 ~    ~   C~i~~c-n"`~zrics-EsrrcrrE~E~`~~i~i-rr~--avrncs


              >             >                                          >                  >           >


t`l~3(~G~?~-~@E6~E~k2fs~~1                                1{~&g21~~~t~F61~i-cc$ftts~-zccG~~C".~E9iiciuC~~



                                                                                      -~;I~

                                                                t




                  >               >               >                               >              >




~Si~!T~:!!!E~i!!f.
....~.,~~....,..~....:.L:~~.          ~,~:.:. ,~':..,:.:..~.,..:.~.   :.~~.s,.~~.,~.~.,:..:~




                      15.       The term "Communication"                                 "

~e~e~-~c~e~~                                ~e~e~Ef~ge
                                                     ; -aid--e~~er~-~sc~e~e,                   s€~e~~c~g~oZ



~-~~;' '~•• „~r~~r~' a~';~~~~ ~~~eans the transmittal of information (in the form of facts, ideas,

inquiries or otherwise.

                      16.       'T'^ "~~'~~*~~~"When referring to a Person, "to Identify" means to give, to

the extent known, the Person's full name, present or last known address-a~-~~e~e--~e~, and

when referring to a natural Person, additionally, the present or last known place of employment.



                                                               -4-
RE\55673\0424~2064026v34
       Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 5 of 14




Once a Person has been ~exec~Identified in accordance with this paragraph, only the name of

that Person        need    be listed   in response to subsequent discovery requesting the

~~'~r*~~~~*~~rldentification of that Person.

                  17.      When referring to Documents, "to Identify" means to give, to the extent

known, the (i) type of Document;(iil general subiect matter; (iii) date of the Document; and (ivl

author(sl, addressees) and recipient(sl. In the alternative, the resnondin~ party may broduce the

Documents, together with Identifvin~ information sufficient to satisfy Fed. R. Civ. P. 33(dl.

                  18.      ~"Including" means "including but not limited to."

                                           INSTRUCTIONS

                  1.       In addition to the specific instructions set forth below, these requests

incorporate by reference the instructions set forth in Rule 34 of the ~~r~' '~„'~~ ~~ r;T,;'

~~~FRCP.

                  2.       You are obligated to produce all responsive Documents in Your

possession, custody, or control within the broadest meaning of those terms under the ~~



                  3.       For each item or category, the response must either state that inspection

and related activities will be permitted as requested or state with specificity the grounds for

objecting to the request, including the reasons. If no Documents exist that are responsive to a

particular request, state in writing that no responsive Documents exist.

                  4.       If You know or believe that there maybe, or were, Documents otherwise

responsive to a particular request, but which no longer exist and/or are no longer in Your

possession, custody, or control, state so in Your response to that request and explain why those

Documents no longer exist and/or are no longer in Your possession, custody, or control.



                                                  -5-
RE\55673\0424~2064026v34
       Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 6 of 14



                 5.        Documents should be produced either (a)in a manner that is organized to

indicate to which requests) they are responsive, or(b) as they are kept in the ordinary course of

business and in full and un-redacted form, and in either case documents produced should

       rldenti     the file from which each Document was taken.

                 6.        Each Document should be produced to include all attachments and

enclosures referred to in that Document or originally attached to or enclosed with that Document.

                 7.        If any requested Document is subject to destruction under any document

retention or destruction policy, practice, or procedure, that Document should be exempted from

any scheduled destruction until the conclusion of this action, including all appeals.

                 8.        If You cannot respond fully, or if You object in part, to any request, You

should respond to the greatest extent possible and as narrowed to conform to Your objection(s).

                 9.        In construing these requests, You should give effect to the Definitions set

forth above. Undefined words and terms should be given their common meaning. If You are

unsure of the definition of a particular word or term, You should use the definition that You

believe to be the most accurate and state that definition in Your response.

                  10.      Documents produced should be numbered consecutively, with a prefix

             Identi 'n the name of the producing entity. For every Document produced, indicate

the custodian from whose custody or possession that Document was collected.

                  11.      Electronically stored information ("ESI") shall be produced in its native

format and shall be delivered to Plaintiff on a CD,USB storage device, or via an FTP server.' In




1 In the event You use "e-discovery" software in responding to this or future requests for discoverable material, in
     addition to producing each Document as a native file, electronically produced Documents shall include
     corresponding image files, text or"OCR" files, and load files with delimiting characters, for purposes of upload
     to the undersigned attorney's "e-discover' software.

                                                        -6-
RE\55673\0424~2064026v34
       Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 7 of 14




the event production of ESI in its native format is impossible, Defendant shall provide an

affidavit to that effect specifying which Documents) cannot be produced in its native format,

and pictures or scans of such Documents (TIFF, PDF, etc.) shall be created and produced after

consultation with the undersigned attorney.

                  12.      If any Document is withheld from production in whole or in part based on

a claim of privilege, You should provide a privilege log consistent with Rule 26(b)(5)(A) of the

~oaor~' D„'o~ ~~ r;<,;' Dr~~oa„roFRCP. At a minimum, the privilege log should specify, as to

each Document:

                           (a)    the date;

                           (b)    author(s);

                           (c)    recipient(s);

                           (d)    the basis for withholding, including the nature of the privilege
                                  asserted; and

                           (e)    a description of the nature of the Document sufficient to allow
                                  Defendants and the Court to assess the applicability of the
                                  privilege.

                  13.      Unless otherwise noted, these requests seek Documents, Communications,

and/or information created, revised, transmitted, or reviewed during the time period August 1,

2010 to the present.

                  14.      The      sconnectives "and” and "or”            shall be construed either

disjunctively or conjunctively as necessary to bring within the scope of ~ese-~eq~t~

;rte~~*;~r ~r T'~~„~~„+~ ••.~;~'~the discovery reauest all responses that might otherwise be

construed to be outside ~ei~ofits scope.

                  15.      The terms "all,” "any," and "each" shall each be construed as

encompassing any and all~.~-~-tag-~t~i}rt~Ee~~                         z              ^~~



                                                  -7-
RE\55673\0424~2064026v34
       Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 8 of 14




                  16.      The use of the singular form includes the plural and vice versa

~~e:rseen~r_r.~!~:ss!ire!~r ears!~~s!r~rrrss!~s~!~a:~rseeFrr.~r~.

                  17.      These requests are continuing in nature, and You are required to amend or

supplement Your response and Your production if You later become aware of facts or

Documents indicating that any prior response to any request was incorrect or incomplete.

                                      DOCUMENT REQUESTS

                  1.          Documents and Communications between You and any or all of the

BPCA Defendants, including but not limited to employees of BPCA not named as Defendants.

                  2.          Documents and Communications between You and any or all of the

Landlord Defendants, including but not limited to employees of MCSBA and Milford

Management not named as Defendants, including but not limited to doormen, porters, and

security guards employed at the Building.




                  3.       4-~r'~Documents and Communications between You and Vince

McGowan.

                  4.       ~~-Documents and Communications provided to You by Vince

McGowan Concerning the first cause of action in the Complaint.

                  5.         Documents and Communications a•~a~„^~„^ ~'~^^~ "'~~r'~~••~„'~ ~     ~„*

~~'ar~~~ „'~~„~„ m'~~r~”„a ~ ~;' ~aar~~~Identifvin~ Vince McGowan.

                  6.       ~~-Documents and Communications between You and Kirk Swanson.



                                                  -8-
RE\55673\0424~2064026v34
       Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 9 of 14



                  7.       ~—Documents and Communications provided to You by Kirk Swanson

Concerning the first cause of action in the Complaint.

                  8.         Documents and Communications e~~eri ' R T~;r'~ c~T. ,~Tc~ex~

~~.~one-~e~~~m~~'~aar~~~Identifvin~ Kirk Swanson.

                  9.       ~9:-Identify any and all witnesses that have communicated information to

You that ~~sU1~U0I't Your first cause of action in the Complaint.

                  10.      ~-1-Documents and Communications Concerning ep~Your

allegation that "Plaintiff was paying his rent in full," as set forth in paragraph 35 of the

Complaint.

                  11.      ~1~Docuinents and Communications Concerning Your

r~r* „~•r~•~~~* *~ *'~~ T ~~~~alle ation that You made timely rent pavrnents during each month of

your tenancy at the Premises, from August 2010 through the present, including but not limited to

cancelled checks and bank statements.

                  12.             Documents and Communications relating to any rent demands or

other demands or requests for the payment of past-due rent, whether written or oral, served upon,

transmitted to or otherwise made to You, with respect to the Premises.

                  13.      T4~~Documents and Communications                        Concernin   the

allegation that BPCA Defendants conspired with Landlord Defendants to cause Your eviction

from the Premises.

                  14.      ~~~Documents and Communications                         Concernin   the

allegation that Your eviction "was clearly retaliation for [Your] news reporting," as set forth in

paragraph 35 of the Complaint.




                                                  -9-
RE\55673\0424~2064026v34
      Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 10 of 14



                 15.            -Documents and Communications                 'ncludin    but not

limited to, articles, "blog posts," and/or other content published on the website

www.batterypark.ty, and/or published in any other websites or publications, Concerning

Defendants.

                  16.      ~~Documents and Communications ~~~~~g-including, but not

limited to, articles, "blog posts," and/or other content published on the website

www.batterypark.ty, and/or any other websites or publications that allegedly constitute "speech

protected under the First Amendment," as set forth in paragraph 111 of the Complaint on, lv to

the extent they are different from or in addition to those produced pursuant to nara~raph 15.

                  17.      '~~Documents and Communications Concerning each and every

itemized instance and/or occurrence of Your alleged damages that resulted from the allegations

in the first cause of action ofthe Complaint.

                  18.      '~~Documents and Communications Concerning each and every

itemized instance and/or occurrence of Your alleged compensatory damages that resulted from

the allegations in the first cause of action ofthe Complaint.

                  19.      ?~~Documents and Communications Concerning each and every

itemized instance and/or occurrence of Your economic damages, as set forth in paragraph 2 of

the "Injuries" section ofthe Complaint on page 33 ofthe Complaint.

                  20.      2-~-~~Documents and Communications                 ~   Concernin     the

allegation that You were unable to procure an apartment in New York City, including but not

limited to applications You submitted for residential occupancy of any apartment or other

premises.




                                                -10-
RE\55673\0424~2064026v34
     Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 11 of 14



                 21.       ~~Documents and Communications Concerning any stays in any

hotel, motel or similar lodging following Your eviction from the Premises.

                 22.       ~3—ir'~Documents and Communications Concerning each and every

itemized instance and/or occurrence of Your damages related to the "undue embarrassment,

humiliation, mental distress, anxiety, and depression" You allegedly suffered, as set forth in

paragraph 6 of the "Injuries" section of the Complaint on page 34 of the Complaint ("Medical

Damages").



~~Medical records,or other Documents or Communications, evidencing any

treatment You received in the past or are currently receiving Concerning Your Medical Damages.

                 24.       ''~—~'~Documents     and   Communications                evidencin

prescriptions for medications You currently take or previously took Concerning Your Medical

Damages, including but not limited to medications You currently take or previously took for

treatment of Your Medical Damages.

                 25.       ~~Receibts, or other Documents for Communications-r~~e

~~~e~,evidencing medical expenses You incurred Concerning Your Medical Damages.

                 26.       2'7. ^~Q~~~~Communications                                    to or

from any doctors) treating Your Medical Damages.

                 27.       ~~Duly executed and acknowledged written HIPAA compliant

authorizations to each and every one of Your physicians treating any and all conditions

Concerning Your Medical Damages in the form annexed hereto, permitting all parties to obtain

and make copies of all medical records referred to in Paragraphs 23 through 27 above.




                                              -11-
RE\55673\0424~2064026v34
      Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 12 of 14



                 28.       ''ter-Documents and Communications Concerning any disability

insurance maintained by You or for Your benefit, including, without limitation, copies of any

policies, policy renewals, claims and payments made thereunder Concerning Your Medical

Damages.

                 29.       ~-f11-~-Documents and Communications Concerning the attorneys' fees,

costs, and expenses You seek to recover in this action as set for on page 36 ofthe Complaint.

                  30.             Documents and Communications Concerning the ~"~~~+~~„ +'~~+

*'~~ ~~~m ~~*'~~ alleged reduction in value to www.batterypark.ty allegedly caused by Defendants

"ranges from $7 Million to $100 Million," as set forth in the Initial Disclosures.

                  31.           1-Documents and Communications Concerning revenue generated by

www.batterypark.ty and any other "media companies" owned in whole or in part by Plaintiff.

                  32.      ~~~~Docuxnents and Communications Concerning the "website

analytics" of www.batterypark.ty and/or any other "media companies" owned in whole or in part

by Plaintiff, including but not limited to the number of "unique page views" received by

www.batterypark.ty and/or any other "media companies" owned in whole or in part by Plaintiff.

                  33.             Documents and Communications Concerning the allegation that

the value of the reputation damages You allegedly suffered are $20,000,000, as set forth in the

Initial Disclosures.

                  34.             Documents and Communications Concerning the allegation that

the cost of moving out of the Premises was $50,000, as set forth in the Initial Disclosures.

                  35.      ~—A~~-Documents and Communications Concerning the allegation that

Your damages for "mental anguish" are $1,000,000, as set forth in the Initial Disclosures.




                                                -12-
RE\55673\0424~2064026v34
      Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 13 of 14



                   36.               -Documents and Communications Concerning the allegation that

damages related to Your "[1]oss of enjoyment of a NYC apartment" are $1,000,000, as set forth

in the Initial Disclosures.

                   37.      ~--Your federal, state and local income tax returns.

                   38.           Your Internal Revenue Service Forms W-2 and/or 1099.

                   39.      ^~zeae~.'~~t-~~eFederal, State and local income tax returns

Concerning Your practice of medicine, including but not limited to any and all medical

practices) in which You practiced) medicine, regardless of whether said medical practices) is

owned by You and/or other }~e~se~{Person s).

                   40.      4~A~~Documents and Communications                      sufficient to Identi

Your income and/or ~~~~~~~ r~~~ra~expenses Concerning Your practice of medicine.



r...,:.:..,~..::..,,,,.:.:.~e.,._~~.~~.,L~:~~..:..~._



                   41.      Ori~inal(sl and copies of the Lease, including anv renewals thereof, and

anv notices and/or Documents sent, delivered, and/or served by Landlord Defendants to Plaintiff

pursuant to the Lease.

                   42.      43—Copies of all photographs and/or videos, whether the original is in

digital or non-digital format, that You intend to attempt to introduce into evidence at trial.

                   43.      44-Copies of all Documents and Communications You refer to in Your

Initial Disclosures.

                  44.       4~. ^" ~*'~~r a~~•~~^~^*~Anv other Documents and Communications not

specifically requested above ~T~'~~~'~ ~~~ r~'~•~~„+ +~Concernin~ the first cause of action in the

Complaint.



                                                        -13-
RE\55673\0424~2064026v34
      Case 1:15-cv-06119-AJN-JLC Document 288-4 Filed 03/18/17 Page 14 of 14



Dated: New York, New York
       February ~8, 2017
                                       ROSENBERG & ESTIS,P.C.
                                       Attorneysfor Landlord Defendants

                                       By:
                                           Deborah E. Riegel
                                       733 Third Avenue, 14th Floor
                                       New York, New York 10017
                                       (212)867-6000




                                     -14-
RE\55673\0424~2064026v34
